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                                        CAUSE NO. 2020-78983

RASHANETTE GUIDRY, BRASHANNA                        §                  IN THE DISTRICT COURT
LEDET AND KAVION LEDET,                             §
                                                    §
Plaintiffs                                          §
                                                    §              OF HARRIS COUNTY, TEXAS
        vs.                                         §
                                                    §
                                                    §
JOHN DOE and AIRGAS USA, LLC,                       §
Defendants                                                             11TH JUDICIAL DISTRICT

                               DEFENDANT’S ORIGINAL ANSWER

        Airgas USA, LLC (“Defendant”), files its Original Answer and respectfully shows the

following:

                                            GENERAL DENIAL

        1.       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies each and every of Plaintiffs’, material allegations and demands strict proof thereof by

preponderance of the good and credible evidence.

                                               DEFENSES

        2.       Plaintiffs’ damages, if any, were proximately caused in whole or in part, by various

negligent acts and omissions on the part of the Plaintiffs each and all of which constitute

negligence, and each and all of which were a proximate cause or contributing cause of said injuries

and damages, if any, to the Plaintiffs. Defendant, therefore, specifically pleads the doctrine of

contributory negligence and/or comparative fault as a defense to this claim and would show that

Plaintiffs’ recovery, if any, should be reduced by the doctrine of comparative fault or contributory

negligence.

        3.       Defendant would show that Plaintiffs’ damages, if any, were proximately caused

as a result of intervening or superseding acts of persons or instrumentalities over which and whom

Defendant had no control and/or responsibility.

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        4.       Plaintiffs’ medical expenses should be limited to those actually paid or incurred on

behalf of Plaintiffs pursuant to Texas Civil Practice & Remedies Code § 41.0105.

                                      RULE 193.7 DISCLOSURE

        5.       During trial, Defendant intends to utilize items produced during discovery as self-

authenticated. Tex. R. Civ. P. 193.7.

                                   REQUEST FOR DISCLOSURE

        6.       Pursuant to Rule 194.2 of the Texas Rules of Civil Procedure, Defendant requests

that Plaintiffs disclose, within thirty (30) days of service of this request, all the information or

material described in each section of Tex. R. Civ. P. 194.2.

                                              PRAYER

        For these reasons, Defendant, prays upon final hearing Plaintiffs take nothing, and

Defendant be awarded all such other legal or equitable relief to which it may show itself justly

entitled.


                                               Respectfully submitted,

                                               CLARK HILL PLC

                                                /s/ Louis W. Williams
                                               BIJAN SIAHATGAR
                                               State Bar No. 18336200
                                               bsiahatgar@clarkhill.com
                                               LOUIS W. WILLIAMS
                                               State Bar No. 24088645
                                               lwilliams@clarkhill.com
                                               909 Fannin Street, Suite 2300
                                               Houston, Texas 77010
                                               (713) 951-5600
                                               (713) 951-5660 Fax

                                               ATTORNEYS FOR AIRGAS ISA, LLC




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 15, 2021, a true and correct copy of the above document
was forwarded to all known parties of record pursuant to Rules 21 and 21a of the Texas Rules of
Civil Procedure.


                                              /s/ Louis Williams
                                              LOUIS WILLIAMS




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